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                 EXHIBIT 1
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                                   Independent Accountant’s Report

NSO Group Technologies Ltd. (the "Company" or "NSO")



We have performed the procedures enumerated below in order to confirm that (1) all of the revenues
from the export of NSO's Pegasus product recorded in NSO's book of accounts for the years ended on
December 31, 2018 and December 31, 2019 included in the accompanying information provided to us
by management of NSO, are derived from contracts that are subject to export licenses from the Defense
Export Control Agency of the State of Israel Ministry of Defense ("Export License") and (2) such Export
Licenses explicitly indicate that the use of the licenses are only for government agencies in specified
countries. NSO is responsible for recording the revenues from its Pegasus product in its book of accounts
and to validate that all related contracts are subject to such Export Licenses with the mentioned above
indication.



NSO has agreed to and acknowledged that the procedures performed are appropriate to meet the intended
purpose of confirming that NSO's revenues related to the export of the Pegasus product recorded in the
NSO's book of accounts for the years ended on December 31, 2018 and December 31, 2019 are derived
from contracts with Export License for government agencies' use. This report may not be suitable for
any other purpose. The procedures performed may not address all the items of interest to a user of this
report and may not meet the needs of all users of this report and, as such, users are responsible for
determining whether the procedures performed are appropriate for their purposes.



The procedures and the associated findings are as follows:

1. We received NSO's detailed revenue schedule for fiscal years 2018 and 2019 with breakdowns by
    end user, by contact, and by product. We compared the schedule received to NSO's book of accounts
    for the years ended in December 31, 2018 and December 31, 2019.

    We found no exceptions as a result of the procedures.
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2. We sampled 100% from NSO's contracts that included the export of NSO's Pegasus product for
    fiscal years 2018 and 2019. We obtained all export licenses and the related appendices related to
    Pegasus product for fiscal year 2018 and 2019. We compared the information outlined in the export
    license including customer name and product to the contracts.

    We found no exceptions as a result of the procedures for fiscal year 2019. We found no exceptions
    as a result of the procedures for fiscal year 2018 other than that the revenue received from one
    customer was not confirmed against an Export License as this license was not received from the
    Company prior to the completion of this report.

3. We confirmed that all Export Licenses reviewed explicitly indicate that the use of the licenses are
    only for government agencies in specified countries.

    We found no exceptions as a result of the procedures.

We were engaged by NSO to perform this agreed-upon procedures engagement and conducted our
engagement in accordance with attestation standards established by the AICPA. We were not engaged
to and did not conduct an examination or review engagement, the objective of which would be the
expression of an opinion or conclusion, respectively, on the measures described above. Accordingly, we
do not express such an opinion or conclusion. Had we performed additional procedures, other matters
might have come to our attention that would have been reported to you.



We are required to be independent of NSO and to meet our other ethical responsibilities, in accordance
with the relevant ethical requirements related to our agreed-upon procedures engagement.


Kost Forer Gabbay & Kasierer
A Member of EY Global

April 2, 2020
